               Case 2:20-mj-30205-DUTY ECF No. 3 filed 06/17/20                               PageID.4   Page 1 of 1
AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing



                               UNITED STATES DISTRICT COURT
                                                                     for the
                                                           Eastern District of Michigan

                  United States of America                           )
                             v.                                      )       Case No. 20-30205
                                                                     )
                     JUSTIN JOHNSON
                                                                     )
                                                                     )


                               ORDER SCHEDULING A DETENTION HEARING


              A detention hearing in this case is scheduled as follows:

 Place:
                                                                          Courtroom:          Room 104
 Theodore Levin U.S. Courthouse
 231 West Lafayette Boulevard
 Detroit, MI 48226                                                        Date and Time: 6/18/2020 at 1pm



     IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date,
and place set forth above.



Date: June 17, 2020                                                  s/Anthony P. Patti
                                                                     Judicial Officer’s Signature


                                                                     Anthony P. Patti, U.S. Magistrate Judge
                                                                     Printed name and title
